      Case 2:13-cr-02094-TOR            ECF No. 786        filed 09/25/14      PageID.3058 Page 1 of 2
PROB 12C                                                                          Report Date: September 25, 2014
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jaime Barajas-Birrueta                   Case Number: 0980 2:13CR02094-TOR-3
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: April 15, 2014
 Original Offense:        Misprision of a Felony, 18 U.S.C. § 4
 Original Sentence:       Prison - 60 days                  Type of Supervision: Supervised Release
                          TSR - 12 months
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: August 8, 2014
 Defense Attorney:        Julian Elizabeth Trejo            Date Supervision Expires: August 7, 2015


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

           1            General Condition: The defendant shall not unlawfully possess a controlled substance. The
                        defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                        submit to one drug test within 15 days of release from imprisonment and at least two
                        periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: Mr. Barajas-Birrueta tested positive for cocaine on August 11, 2014.
                        The test was confirmed by Alere Toxicology Services.
           2            Special Condition # 16: You shall abstain from the use of illegal controlled substances,
                        and shall submit to testing (which may include urinalysis or sweat patch), as directed by
                        the supervising officer, but no more than six tests per month, in order to confirm
                        continued abstinence from these substances.

                        Supporting Evidence: Mr. Barajas-Birrueta tested positive for cocaine on September 11,
                        2014. The test was confirmed by Alere Toxicology Services.
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Prob12C
Re: Barajas-Birrueta, Jaime
September 25, 2014
Page 2
The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear
to answer to the allegations contained in this petition.



                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     September 25, 2014
                                                                          s/Jose Zepeda
                                                                          Jose Zepeda
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [9 ]     The Issuance of a Summons
 [ ]      Other

                                                                          Signature
                                                                          Si   t    off JJudicial
                                                                                           di i l Offi
                                                                                                  Officer

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                                                                          Date
